                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 DANIEL ALLEN BYRAM, Administrator of
 the Estate and Natural Father of
 JOHNATHON BYRAM, deceased,                             CIVIL ACTION NO. 3:10-CV-593


        Plaintiff
                                                        (JUDGE CAPUTO)
                v.

 MARK T. RENEHAN, et al.,

        Defendants

                                       MEMORANDUM

       Defendant Joseph Connors moves for summary judgment on the negligence claims

against him stemming from a RUV accident in which Johnathon Byram was killed. Mr.

Connors argues that under Pennsylvania law, a passenger of a vehicle has no duty to a

third person killed by the vehicle’s driver. Plaintiff Daniel Allen Byram, decedent’s father,

argues for liability under three theories: (1) “concert of action”; (2)” substantial assistance”;

or (3) the “Good Samaritan” doctrine. The Court does not agree with plaintiff and will grant

Mr. Connors’ motion.

                                       BACKGROUND

       The underlying suit arises out of a tragic RUV accident which took place on Minkler

Mountain Rd in Wayne County, Pennsylvania in the early morning of July 5, 2009.

Johnathon Byram and Mr. Connors were staying at defendant Mark Renehan’s parents’

home over the Fourth of July weekend. Both Mr. Byram and Mr. Connors were nineteen

at the time and minors under Pennsylvania law. After a night of drinking at the nearby home

of Mr. Renehan’s aunt and uncle, defendants Patricia and James Renehan, Mr. Renehan
told Mr. Byram and Mr. Connors he was ready to go back to his parents’ house. The RUV

they were taking belonged to Mr. Renehan’s parents. Mr. Connors testified at his deposition

that, as the three approached the RUV, he and Mr. Renehan helped guide Mr. Byram to the

vehicle after he had slipped on the wet grass. Mr. Connors climbed into the back after

losing a game of ‘rock, paper, scissors’ for the front seat. Mr. Connors testified that he then

held out his hand to help Mr. Byram into the vehicle. Mr. Renehan drove. Along the way,

the RUV flipped over. Mr. Byram, who was not wearing a seatbelt, was thrown from the

vehicle and killed.

       Daniel Allen Byram then filed a complaint on behalf of Johnathon on March 17, 2010

(Doc. 1), and an amended complaint, adding additional defendants, on October 14, 2011

(Doc. 109). The allegations against Mr. Connors are outlined in paragraph 94. Mr. Byram

primarily alleges that Mr. Connors was negligent in placing Johnathon Byram into the RUV

knowing Mr. Renehan was intoxicated and knowing that Johnathon was unable to take

precautions, such as buckling his seatbelt, to protect himself.

       Mr. Connors now brings a motion for summary judgment. The motion has been fully

briefed and is ripe for review.

                                    LEGAL STANDARD

       Summary judgment is appropriate if “the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there

is no genuine issue as to any material fact and that the moving party is entitled to a

judgment as a matter of law.” FED . R. CIV . P. 56(c). A fact is material if proof of its

existence or nonexistence might affect the outcome of the suit under the applicable

substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

                                              2
       Where there is no material fact in dispute, the moving party need only establish that

it is entitled to judgment as a matter of law. Where, however, there is a disputed issue of

material fact, summary judgment is appropriate only if the factual dispute is not a genuine

one. Id. An issue of material fact is genuine if “a reasonable jury could return a verdict for

the nonmoving party.” Id.

       Where there is a material fact in dispute, the moving party has the initial burden of

proving that: (1) there is no genuine issue of material fact; and (2) the moving party is

entitled to judgment as a matter of law. See CHARLES ALAN W RIGHT & ARTHUR R. MILLER ,

FEDERAL PRACTICE AND PROCEDURE: CIVIL 2D § 2727 (2d ed. 1983). The moving party may

present its own evidence or, where the nonmoving party has the burden of proof, simply

point out to the Court that “the nonmoving party has failed to make a sufficient showing of

an essential element of her case.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

       All doubts as to the existence of a genuine issue of material fact must be resolved

against the moving party, and the entire record must be examined in the light most

favorable to the nonmoving party. White v. Westinghouse Elec. Co., 862 F.2d 56, 59 (3d

Cir. 1988). Once the moving party has satisfied its initial burden, the burden shifts to the

nonmoving party to either present affirmative evidence supporting its version of the material

facts or to refute the moving party’s contention that the facts entitle it to judgment as a

matter of law. Anderson, 477 U.S. at 256-57.

       The Court need not accept mere conclusory allegations, whether they are made in

the complaint or a sworn statement. Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 888 (1990).

In deciding a motion for summary judgment, “the judge’s function is not himself to weigh the



                                              3
evidence and determine the truth of the matter but to determine whether there is a genuine

issue for trial.” Anderson, 477 U.S. at 249.

                                            DISCUSSION

          The Court will grant Mr. Connors’ motion for summary judgment on the negligence

claims against him because he did not owe a duty to Johnathon Byram.

          “In order to hold a defendant liable for injuries sustained by a plaintiff, it must be

shown that the defendant breached a duty or obligation recognized by the law, which

required him to conform to a certain standard of conduct for the protection of persons such

as the plaintiff.” Clayton v. McCullough, 448 Pa.Super. 126, 129 (1996) (internal citation

omitted). “Anglo-American common law has for centuries accepted the fundamental

premise that mere knowledge of a dangerous situation, even by one who has the ability to

intervene, is not sufficient to create a duty to act.” Clayton, 449 Pa.Super. at 129 (citing

Elbasher v. Simco Sales Serv. of Pa., 441 Pa.Super. 397, 398-99 (1995)).

          Absent a special relationship, joint venture, or right to control the vehicle, “[a]

passenger does not owe a duty to a third-person where the driver of the vehicle is

intoxicated, particularly when passengers and the driver merely participate in the joint

procurement and ingestion of alcohol.” Brandjord v. Hopper, 455 Pa.Super. 426, 431

(1997) (internal citation omitted) (emphasis added).1


      1
           The Brandjord court justified this rule by finding that:

      To impose a duty on a passenger making him liable to others for what the driver chooses to
      do is inappropriate; such a rule assumes, incorrectly, that a passenger somehow shares in the
      management of the vehicle and the driver is amenable to the passenger's influence. Even
      more troubling, however, is that such a duty would open a veritable Pandora's box of


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       Under well-established Pennsylvania law then, Mr. Connors, as a passenger in the

RUV, had no duty to Johnathon Byram. In attempting to avoid this rule, Mr. Byram argues

that Mr. Connors could be held liable under theories of: (1) “concert of action,” (2)

“substantial assistance,” or (3) the “Good Samaritan” doctrine.

       A.      “Concert of Action”

       The “concert of action” theory is set forth in § 876(a) of the Restatement (Second)

of Torts, which provides that: “[f]or harm resulting to a third person from the tortious conduct

of another, one is subject to liability if he . . .does a tortious act in concert with the other or

pursuant to a common design with him.” While this provision of the Restatement has not

been formally adopted by the Pennsylvania Supreme Court, it is the framework usually

employed by the lower courts in dealing with liability claims against motor vehicle

passengers. See, e.g., Brandjord, 455 Pa.Super at 432. In Welc v. Porter, decedent’s

parents sued driver and passenger for negligence after driver struck decedent’s vehicle,

killing her. 450 Pa. Super. 112 (1996). Driver and passenger had both been drinking and

were in a truck owned by driver’s mother. Plaintiffs argued that passenger was liable under

the “concert of action” theory. Since the only allegations were that driver and passenger

had been drinking together and that the driver had driven negligently, the Pennsylvania

Superior Court held that: the “facts do not present the type of situation where it can be said

that the driver and passenger acted in accordance with an agreement to cooperate in a

particular line of conduct or to accomplish a particular result.” Welc, 450 Pa.Super. at 123.


       potential liability and responsibility problems.

      Brandjord, 455 Pa.Super. at 431.


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Similarly here, Mr. Connors testified that Mr. Renehan, after a night of drinking with Mr.

Connors and Johnathon Byram, told them he was ready to go back to his parents’ home.

They then got into an RUV owned by Mr. Renehan’s parents and proceeded back to the

parents’ home when the accident occurred. The Court therefore finds there was no

agreement between Mr. Renehan and Mr. Connors as to a line of conduct or a particular

result. Mr. Renehan simply announced his intentions and Mr. Connors and Mr. Byram

acquiesced.

       B.     “Substantial Assistance”

       Likewise, there are no facts that Mr. Connors “substantially assisted” in Mr. Byram’s

negligent conduct.

       Under § 876(b) of the Restatement (Second) of Torts, a person can be liable for

harm to a third party resulting from the tortious conduct of another if the individual, “knows

that the other's conduct constitutes a breach of duty and gives substantial assistance or

encouragement to the other so to conduct himself” (emphasis added). Again, in Welc the

passenger was only alleged to have drank beer with the driver and rode with driver in a

truck owned by the driver’s mother. The Court concluded that plaintiffs could not recover

under § 876(b) because there were no allegations the passenger substantially assisted or

encouraged either driver’s alcohol consumption or his negligent driving. Likewise here, Mr.

Connors simply drank with Mr. Byram and rode in the RUV. He thus cannot be held liable

under a “substantial assistance” theory.

       C.     “Good Samaritan” Theory

       Additionally, Mr. Connors is not liable under the “Good Samaritan” theory because



                                              6
his “assistance” was of a minimal nature.

       Under § 323 of the Restatement (Second) of Torts:

       One who undertakes, gratuitously or for consideration, to render services to
       another which he should recognize as necessary for the protection of the other's
       person or things, is subject to liability to the other for physical harm resulting from
       his failure to exercise reasonable care to perform his undertaking, if

       (a) his failure to exercise such care increases the risk of such harm, or

       (b) the harm is suffered because of the other's reliance upon the undertaking.

       Additionally, under § 324 of the Restatement (Second) of Torts:

       One who, being under no duty to do so, takes charge of another who is helpless
       adequately to aid or protect himself is subject to liability to the other for any bodily
       harm caused to him by

       (a) the failure of the actor to exercise reasonable care to secure the safety of the
       other while within the actor's charge, or

       (b) the actor's discontinuing his aid or protection, if by so doing he leaves the
       other in a worse position than when the actor took charge of him.

       These sections, collectively, are known as the “Good Samaritan” doctrine. Filter v.

McCabe, 733 Pa.Super. 1274 (1999). In Filter, plaintiff was at a party at defendant’s home

and had been drinking. After everyone else had left, plaintiff fell, struck his head on the

concrete floor of defendant’s basement, and was rendered unconscious. Defendant revived

plaintiff, but plaintiff could not respond to defendant’s questions. Rather than call an

ambulance or plaintiff’s family, defendant put plaintiff on a couch and went to bed. The next

morning plaintiff woke up and went home. Defendant called plaintiff’s home to see that he

was safe, spoke to plaintiff’s wife but did not tell her about the fall. An hour later, defendant

called again, this time telling the wife about the accident. Plaintiff’s wife then went to wake

him up. When she could not, she called the paramedics. Plaintiff ultimately underwent


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emergency brain surgery and suffered permanent brain damage from the fall. Based on

the facts of the case, the Superior Court of Pennsylvania held that the homeowner could

be liable under §§ 323 and 324 of the Restatement.          However, the facts here are

distinguishable from Filter. The only help Mr. Connors testified to giving Johnathon Byram

was guidance to the RUV after Mr. Byram had slipped on the grass and a hand to help Mr.

Byram into the vehicle. His “assistance” was minimal. Additionally, while Mr. Byram had

been drinking, he was able to walk to the RUV and play a game of “rock, paper, scissors”

for the front seat. There is no evidence that Mr. Byram was in Mr. Connors care or that Mr.

Connors ever assisted him other than in the most cursory fashion. Finding liability here

would make the “Good Samaritan” exception to the principal of nonfeasance, a central pillar

of the law of negligence, consume the rule.

                                      CONCLUSION

      Mr. Connors’ motion for summary judgment will be granted because a passenger in

a vehicle cannot be held liable for the injuries or death of a third-person based on the

negligence of the vehicle’s driver. Additionally, there was no concerted action between Mr.

Connors and Mr. Renehan; Mr. Connors did not substantially encourage Mr. Renehan’s

negligent conduct; and Mr. Connors did not undertake to assist or aid Mr. Byram.

      An appropriate order follows.


 12/8/11                                                      /s/ A. Richard Caputo
Date                                                          A. Richard Caputo
                                                              United States District Judge




                                              8
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       Plaintiff
                                              (JUDGE CAPUTO)
               v.

 MARK T. RENEHAN; THOMAS (a/k/a
 TODD) S. RENEHAN; BETH L.
 RENEHAN; JAMES RENEHAN;
 PATRICIA RENEHAN and JOSEPH
 CONNORS, Jr.,

       Defendants
                                     ORDER

         NOW, this      8th   day of December, 2011, IT IS HEREBY ORDERED that

Defendant Joseph Connors’ motion for summary judgment (Doc. 112) is GRANTED




                                                /s/ A. Richard Caputo
                                                A. Richard Caputo
                                                United States District Judge
